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TRULINCS     38360037-     DOBIE, LAVON - Unit: HAl-J-B

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SUBJECT: motion to hold the filing of a 2255 in abeyance
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LA'VON DOBIE VS. US [CASE# RWT-04-0235]

HONORABLE     DISTRICT COURT OF GREENBELT MARYLAND
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NOW COMES THE DEFENDANT LA' VON DOBIE PRO SE ASKING THIS HONORABLE COURT TO HOLD HER LEGAL
RIGHT TO FILE A 2255 IN ABEYANCE. ON NOVEMBER 2,2011 THE FOURTH CIRCUIT COURT OF APPEALS VACATED
AND REMANDED THE COUNT 1 CHARGE BACK TO THIS HONORABLE COURT FOR RESENTENCING AND THE ORDER
WAS MANDATED ON DECEMBER 2011. THE DEFENDANT IS AWAITING THIS HONORABLE COURT TO SCHEDULE A
RESENTENCING HEARING OR TAKE ACTIONS ON THE SUBMISSIONS RELATIVE TO THIS MOTION FROM THE
FOURTH CIRCUIT COURT OF APPEALS. DEFENDANT HUMBLY ASK THAT THIS HONORABLE COURT GRANTS THIS
MOTION TO HOLD THE FILING OF HER 2255 IN ABEYANCE PENDING THE DECISION OF THIS COURT OR THE
RESENTENCING OF THE SAID DEFENDANT.

IN SPITE OF THE INFORMAL NATURE OF THIS MOTION PLEASE CONSIDER A LEGAL MOTION.


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                                                             LA' VON DOBIE #38360-037
                                                             SFF-HAZ[J2-104L]
                                                              P,O,BOX 3000
                                                              BRUCETON MILLS,WV 26525
